        Case 3:20-cv-00178-PSH Document 82 Filed 08/08/23 Page 1 of 1




               IN THE UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF ARKANSAS
                        NORTHERN DIVISION

WALTER T. GUFFEY JR.                                                  PLAINTIFF
Reg. #23544-009

v.                           No: 3:20-cv-00178-PSH


KENDRA ROBERTS, et al.                                            DEFENDANTS

                                  JUDGMENT

      Pursuant to the Joint Stipulation for Dismissal with Prejudice filed August 7,

2023 (Doc. No. 81), judgment is entered dismissing this case with prejudice.

      DATED this 8th day of August, 2023.



                                      ____________________________________
                                      UNITED STATES MAGISTRATE JUDGE
